Case 8:16-cv-00233-RAL-TBI\/| Document 1 Filed 01/29/16 Page 1 of 6 Page|D 1

o ta._L...¢

UNITEI) STATES DISTRICT COURT
MIDI)LE DISTRICT OF FLORIDA 1 1' r"§ " ‘ ‘- ' ,
'I`AMPA DIVISION

RICHARD J. VVIEGEL,

`\? .\\o Cv 213/l z_(o ’l`£e'\
Plaintiff, CASE NO. `

VS. JURY TRIAL DEMANDEI)

CITIGROUP lNC. d/b/a
CITIBANK, N.A.,

Dcfendant.
/

COMPLAINT

Plaintiff, RICHARD J. WIEGEL (“Plaintii`f”), alleges the following Complaint against
Defendant, CITIGROUP INC. d/b/a Cl'l`lBANK, N.A. (“Del`endant”):

l. This is an action for damages for violations 01` the Telephone Consumer Protection
Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.
§§ 559.55 et seq.

PARTIES

2. Plaintiff is a “consumer” as that term is defined by Fla. Stat. § 559.55(2).

3. Defendant is a foreign company with its principal place 01` business in New York.
Defendant has a registered agent located in the state of Florida, and the actions forming the basis of
this Complaint took place at Plaintiff"s horne location in this district.

4. Def`endant is a “person” subject to regulation under Fla. Stat. § 559.72.

5. Plaintiff` is the subscriber, regular user and carrier of the cellular telephone number,
(727-XXX-5053), and was the called party and recipient of Defendant’s autodialer calls.

JURISDICTlON AND VENUE

\`<@\`O -l-

/'\`Q`p"‘f)7 §u(,o©

Case 8:16-cv-00233-RAL-TBI\/| Document 1 Filed 01/29/16 Page 2 of 6 Page|D 2

6. This Court has federal question jurisdiction pursuant to 28 U.S.C. § 1331 for the
TCPA claim, and should exercise supplemental jurisdiction over the state FCCPA claims pursuant
to 28 U.S.C. § l367(a), as such claims are so closely related so as to form part of the same case or
controversy.

7. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b)(2), in that the acts
giving rise to this action occurred in this District.

FACTUAL ALLEGAT[ONS

8. Plaintiff allegedly incurred a credit card debt with Defendant (hereinatter “Subject
Debt”).

9. The Subject Debt is considered a “consumer debt” as defined by the FCCPA, as it
constitutes an obligation for the payment of money arising out of a transaction in which the money
and/or services which was the subject of the transaction was primarily for Plaintiff’s personal,
family, or household purposes.

10. At some point in or around November of 2015, after Plaintiff was in arrears on the
Subject Debt, Defendant began a campaign of harassing and abusive efforts to collect the debt owed
by Plaintiff.

ll. As part of its efforts to collect the debt, Det`endant began a campaign of calling
Plaintiff’s cellular phone, (727-XXX-5053), numerous times.

12. Defendant called Plaintiff on the following dates and times from one of their
advertised numbers, i.e., (800)-388~2200:

a. 11/24/15
b. l 1/24/15 at 10:47 a.m.

c. ll/29/15 at 11136 a.m.

Case 8:16-cv-00233-RAL-TBI\/| Document 1 Filed 01/29/16 Page 3 of 6 Page|D 3

d. 12/3/15 a18:38 a.m.

e. 12/7/15 at 8:39 a.m.

f. 12/11/15 at 9:22 a.m.
g. 12/15/15 at 9:39 a.m.
h. 12/21/15 at 5:28 p.m.
i. 12/26/15 at 8:36 a.m.
j. 12/26/15 at 12:48 p.m.
k. 12/26/15 at 4:5() p.m.
l. 12/30/15 at 9:26 a.m.

13. On each call except the first call and the call at 12:48 p.m. on 12/26/15, Plaintiff
informed Defendant to stop calling as he had no money. Det`endant would respond “we will not
stop calling until the debt is paid.” (Or something similar to this effect.)

l4. Defendant routinely used an automatic telephone dialing system (“A'I`DS”) to call
Plaintiff on his cellular phone, for which Plaintiff was chargcd, without P|aintiff"s prior express
consent, and afier Plaintiff demanded that Defendant stop calling his cellular phone.

15. When Def`endant called Plaintiti’s cellular phone, he would answer and say “hello” a
few times before Defendant would respond. ln addition, there would be a clicking noise in the
background

16. Further, during the 12/26/ 15 call at 12:48 p.m.. |’laintiff answered and said hello
numerous times. Defendant never responded

17. The facts set forth in paragraph 15 and 16 arc indicators that Dcfendant uses an

ATDS, as defined in the TCPA.

Case 8:16-cv-00233-RAL-TBI\/| Document 1 Filed 01/29/16 Page 4 of 6 Page|D 4

18. Further, Defendant has a corporate policy to use an ATDS and has numerous other
federal lawsuits pending against them alleging similar violations and facts as stated in this
complaint

19. Dcspite l’laintiff inl`omiing the Defendant for his reasons of non-payment towards
the Subject Debt and taking all reasonable measures at negotiating a resolution to the Subject Debt,
the Defendant continued its efforts to try and collect the Subject Debt from Plaintiff. As a result, the
Defendant’s subsequent attempts to persuade Plaintitf were made with the intent to simply exhaust
Plaintiff's will and harass l’laintifl`.

20. 'I`he above-referenced conduct was a willful attempt by Defendant to engage in
conduct which was reasonably expected to abuse or harass Plaintiff. Defendant’s conduct has
caused Plaintiff significant anxiety. emotional distress, frustration, and anger.

COUNT l

VIOLATIONS OF THE TELEPHONE COMSUMER PROTECTION ACT
47 U.S.C. § 227 et seq.

21. Plaintiff incorporates by reference paragraphs l through 20 of this Complaint as
though fully stated herein.

22. lt is a violation of the 'l`CPA to make “any call (other than a call made for
emergency purposes or made with the prior express consent of the called party) using any automatic
telephone dialing system or an artificial or prerccorded voice to any telephone number assigned
to a cellular telephone service 47 U.S.C. § 227(b)(l)(A)(iii).

23. The Defendant placed non-emergency telephone calls to Plaintist cellular
telephone using an automatic telephone dialing system or pre-recorded or artificial voice, without

Plaintiff`s consent in violation of 47 U.S.C. § 227(1))(1 )(A)(iii).

Case 8:16-ev-00233-RAL-TBI\/| Doeument 1 Filed 01/29/16 Page 5 of 6 Page|D 5

24. 'l`hese calls were made without regard to whether or not the Defendant had first
obtained express permission from Plaintiti` to make such calls. In fact, the Defendant did not have
prior express consent to call Plaintiff"s cellular telephone numbcr. As such, the Defendant’s calls
were willful or knowing. See 47 U.S.C. § 312(f)(l).

25. As a result of the Defendant’s conduct and pursuant to Section 227(b)(3) of the
TCPA, Plaintiff was harmed and is entitled to a minimum of$500 in damages for each violation.

26. Because the Defendant knew or should have known that Plaintiff had not given prior
express consent to receive their autodialed and prerecorded voice calls to her cellular telephone -
and /or willfully used an automatic telephone dialing system and/or prerecorded voice message to
call Plaintitl`s cellular telephone without prior express consent - Plaintiti` requests the Court to
treble the amount of statutory damages available to Plaintiff pursuant to 47 U.S.C. § 227(b)(3).

Wl-IEREFORE, Plaintiff demands judgment against the Defendant for damages, costs, and
such further relief as this Court deems just and proper.

M

VIOLATIONS OF THE FLORIDA CONSUMER COLLECT\ONS PRACTICES ACT
FLORIDA STATUTES § 559.55 et seq.

27. Plaintiff incorporates by reference paragraphs l through 20 of this Complaint as
though fully stated herein.

28. 'I`he foregoing acts and omissions of Defendant constitute a violation of the FCCPA:

a. Fla. Stat. 559.72(7): Willfully communicate with the debtor or any

member of her or his family with such frequency as can reasonably be expected to

harass the debtor or her or his family, or willfully engage in other conduct which

can reasonably be expected to abuse or harass the debtor or any member of her or
his family.

Case 8:16-ev-00233-RAL-TBI\/| Doeument 1 Filed 01/29/16 Page 6 of 6 Page|D 6

29. As a result of Defendant’s violation of the FCCPA, pursuant to Fla. Stat. § 559.77
Plaintiff is entitled to damages in an amount up to $1,000.00 for violation of the FCCPA, actual
damages, plus reasonable attorneys’ fees and costs.

WHEREFORE, Plaintiff demands judgment for actual and statutory damages, attomeys’
fees, costs, and such further relief as this Court deemsjust and proper.

DEMAND FOR JURY TRIAL

Plaintiff demands a trial byjury on all issues so triable.

/s/ Jon P. Dubbeld

J on P. Dubbeld, Esq.

Fla. Bar No. 105869
Jon@,berkmyer.com
Berkowitz & Myer

2820 lSl Avenue North

St. Petersburg, Florida 33713
(727) 344-0123(office)
Atto)'neysfor Plaintz:/jf

